       Case 1:25-cv-10676-BEM           Document 88       Filed 05/05/25      Page 1 of 5




                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


 D.V.D.; M.M.; E.F.D.; and O.C.G.,

              Plaintiffs,                                   Case No. 25-cv-10676-BEM

                  v.

 U.S. DEPARTMENT OF HOMELAND SECURITY;
 Kristi NOEM, Secretary, U.S. Department of
 Homeland Security, in her official capacity; Pamela
 BONDI, U.S. Attorney General, in her official
 capacity; and Antone MONIZ, Superintendent,
 Plymouth County Correctional Facility, in his official
 capacity,

               Defendants.



                            JOINT PROPOSED DISCOVERY PLAN
                                 REGARDING ECF NO. 83


       Pursuant to the Court’s Electronic Order of April 28, 2025, the parties hereby file this

proposed discovery plan “that addresses (1) the scope and timing of discovery related to the

factual circumstances surrounding the removal of the four alleged class members identified in

Defendants’ April 23, 2025 response (Dkt. [72] ) that occurred after the issuance of this Court's

temporary restraining order on March 28, 2025; (2) the relationship between the Department of

Homeland Security and the Department of Defense, including, but not limited to, each agency's

role with regards to removals, the management of Guantanamo Bay, and the March 7, 2025

memorandum of understanding between the two agencies; and (3) the facts in the declaration of

Tracy J. Huettl (Dkt. 72-1).” Dkt. 83 (Docket Text).




                                                1
        Case 1:25-cv-10676-BEM           Document 88        Filed 05/05/25     Page 2 of 5




                               Plaintiffs’ Proposed Discovery Plan

        Plaintiffs seek to complete compliance discovery by July 10, 2025, and propose the

following schedule:

By May 12, 2025:

    •   Per the District Court’s April 28, 2025 Order, Defendants will identify any individuals

        with a final order of removal that were removed on the two flights that occurred on or

        around March 31, 2025, and April 13, 2025, and any additional flights to remove

        noncitizens from Guantanamo Bay to third countries that occurred prior to the date of

        Defendants’ response

By May 12, 2025:

    •   Parties will electronically serve third party subpoenas for Requests for Production (RFPs)

        and depositions, including a subpoena for a Rule 30(b)(6) deposition of the Department

        of Defense (DOD) and a maximum of 2 individual depositions of DOD employees,

        regarding the topics set forth in Dkt. 83.

    •   Responses due by June 11, 2025.

By May 14, 2025:

    •   Parties’ counsel will electronically serve RFPs, Requests for Admission (RFAs), and

        Interrogatories (ROGs) regarding the topics set forth in Dkt. 83. Parties may submit up to

        25 Requests for Admission, 25 Interrogatories, and 2 sets of Requests for Production,

        which will not count against the general limits for discovery requests in this matter.

    •   Responses would be due by May 28, 2025.




                                                     2
       Case 1:25-cv-10676-BEM           Document 88         Filed 05/05/25      Page 3 of 5




By May 21, 2025:

   •   Parties will submit a protective order to cover the exchange of confidential information to

       the Court.

Between May 29, 2025, and June 26, 2025:

   •   Parties will take depositions related to the topics set forth in Dkt. 83, including Fed. R.

       Civ. P 30(b)(6) depositions of DHS and DOD.

By July 3, 2025:

   •   Parties will submit any additional written discovery requests.

   •   Responses would be due by July 10, 2025.

                                      Defendants’ Proposal

Defendants propose that discovery within the scope identified in this Court’s order (ECF No. 83)

be limited to the following:

   1. Ten Requests for Admissions served on Defendants.

   2. Ten Interrogatories served on Defendants.

   3. Five Requests for Production served on Defendants.

Defendants request that they be given thirty days to respond to these discovery requests.

Defendants do not agree to any depositions or discovery served on non-parties.




                                                 3
       Case 1:25-cv-10676-BEM         Document 88       Filed 05/05/25     Page 4 of 5




Respectfully submitted,

 s/Trina Realmuto                             YAAKOV M. ROTH
 Trina Realmuto*                              Acting Assistant Attorney General
 Kristin Macleod-Ball*
 Mary Kenney*                                 DREW C. ENSIGN
 Tomás Arango                                 Deputy Assistant Attorney General
 NATIONAL IMMIGRATION
    LITIGATION ALLIANCE                       ELIANIS N. PEREZ
 10 Griggs Terrace                            Assistant Director
 Brookline, MA, 02446
 (617) 819-4447                               MATTHEW P. SEAMON
 trina@immigrationlitigation.org              Senior Litigation Counsel

 Matt Adams*                                  s/ Mary L. Larakers
 Leila Kang*                                  MARY L. LARAKERS
 Aaron Korthuis*                              Senior Litigation Counsel
 Glenda M. Aldana Madrid*                     U.S. Department of Justice, Civil Division
 NORTHWEST IMMIGRANT                          Office of Immigration Litigation
   RIGHTS PROJECT                             P.O. Box 868, Ben Franklin Station
 615 Second Avenue, Suite 400                 Washington, DC 20044
 Seattle, WA 98104                            (202) 353-4419
 (206) 957-8611                               (202) 305-7000 (facsimile)
 matt@nwirp.org                               mary.l.larakers@usdoj.gov

 Anwen Hughes*                                Attorneys for Defendants
 HUMAN RIGHTS FIRST
 75 Broad Street, 31st Floor
 New York, NY 10004
 (212) 845-5244
 HughesA@humanrightsfirst.org

 Attorneys for Plaintiffs and Class Members

 * Admitted pro hac vice




                                               4
       Case 1:25-cv-10676-BEM           Document 88        Filed 05/05/25      Page 5 of 5




                                  CERTIFICATE OF SERVICE
       I hereby certify that this document filed through the ECF system will be sent electronically

to the registered participants as identified on the Notice of Electronic Filing (NEF).

                                                      s/ Trina Realmuto
                                                      Trina Realmuto
                                                      National Immigration Litigation Alliance

Dated: May 5, 2025




                                                 5
